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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

  SECURITIES AND EXCHANGE
  COMMISSION,

        Plaintiff,

  v.                                                 Case No: 8:20-cv-325-MSS-AEP

  BRIAN DAVISON, BARRY M.
  RYBICKI, EQUIALT LLC,
  EQUIALT FUND, LLC, EQUIALT
  FUND II, LLC, EQUIALT FUND III,
  LLC, EA SIP, LLC, 128 E. DAVIS
  BLVD, LLC, 310 78TH AVE, LLC,
  551 3D AVE S, LLC, 604 WEST
  AZEELE, LLC, 2101 W. CYPRESS,
  LLC, 2112 W. KENNEDY BLVD,
  LLC, 5123 E. BROADWAY AVE,
  LLC, BLUE WATERS TI, LLC,
  BNAZ, LLC, BR SUPPORT
  SERVICES, LLC, BUNGALOWS TI,
  LLC, CAPRI HAVEN, LLC, EA NY,
  LLC, EQUIALT 519 3RD AVE S.,
  LLC, MCDONALD REVOCABLE
  LIVING TRUST, SILVER SANDS TI,
  LLC and TB OLDEST HOUSE EST.
  1842, LLC,

        Defendants.



                                        ORDER

        THIS CAUSE comes before the Court for consideration of the Receiver’s Ninth

  Quarterly Fee Application for Order Awarding Fees, Costs, and Reimbursement of

  Costs to Receiver and His Professionals. (Dkt. 572) The Receiver seeks fees and costs

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  for his work and the work of the professionals he retained to assist him in the resolution

  of this matter for the period from January 1, 2022 through March 31, 2022. (Id.) On

  June 6, 2022, United States Magistrate Judge Anthony E. Porcelli issued a Report and

  Recommendation, recommending that the Receiver’s Motion be granted. (Dkt. 582)

  No party has filed an objection to the Report and Recommendation, and the deadline

  to do so has expired.

        In the Eleventh Circuit, a district judge may accept, reject, or modify the

  magistrate judge's report and recommendation after conducting a careful and complete

  review of the findings and recommendations. 28 U.S.C. § 636(b)(1); Williams v.

  Wainwright, 681 F.2d 732, 732 (11th Cir. 1982). A district judge “shall make a de novo

  determination of those portions of the report or specified proposed findings or

  recommendations to which objection is made.” 28 U.S.C. § 636(b)(1)(C). This requires

  that the district judge “give fresh consideration to those issues to which specific

  objection has been made by a party.” Jeffrey S. v. State Bd. of Educ., 896 F.2d 507,

  512 (11th Cir.1990) (quoting H.R. 1609, 94th Cong. § 2 (1976)). In the absence of

  specific objections, there is no requirement that a district judge review factual findings

  de novo, Garvey v. Vaughn, 993 F.2d 776, 779 n.9 (11th Cir. 1993), and the court may

  accept, reject, or modify, in whole or in part, the findings and recommendations. 28

  U.S.C. § 636(b)(1)(C). The district judge reviews legal conclusions de novo, even in the

  absence of an objection. See Cooper-Houston v. Southern Ry., 37 F.3d 603, 604 (11th

  Cir. 1994).



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        Upon consideration of the Report and Recommendation, in conjunction with

  an independent examination of the file, the Court is of the opinion that the Report and

  Recommendation should be adopted, confirmed, and approved in all respects.

  Accordingly, it is ORDERED that:

        1.     The Report and Recommendation, (Dkt. 582), is CONFIRMED and

               ADOPTED as part of this Order.

        2.     The Receiver’s Ninth Quarterly Fee Application for Order Awarding

               Fees, Costs, and Reimbursement of Costs to Receiver and His

               Professionals, (Dkt. 572), is GRANTED.

        3.     Fees and costs shall be awarded in the following amounts:

                  a. The Receiver, in the amount of $79,041.01;

                  b. Guerra King P.A., in the amount of $124,665.42;

                  c. Johnson, Cassidy, Newlon & DeCort, in the amount of

                      $69,949.22;

                  d. Weiss Brown, in the amount of $775;

                  e. Yip Associates, in the amount of $25,248.50;

                  f. PDR CPAs, in the amount of $32,655.18;

                  g. E-Hounds, Inc., in the amount of $8,193;

                  h. Omni Agent Solutions, in the amount of $14,095.37; and




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                i. RWJ Group, LLC, in the amount of $724.50.

       DONE and ORDERED in Tampa, Florida, this 27th day of June 2022.




  Copies furnished to:
  Counsel of Record
  Any Unrepresented Person




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